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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

BANK OF NEW YORK MELLON                           §
TRUST COMPANY, N.A., not in its                   §
individual capacity but solely as OWNER           §
TRUSTEE FOR MORTGAGE ASSETS                       §
MANAGEMENT SERIES I TRUST,                        §
                                                  §
                Plaintiff,                        §              EP-22-CV-00020-DCG
v.                                                §
                                                  §
JUANA O. CASTILLO,                                §
                                                  §
                Defendant.                        §

             ORDER STAYING AND ADMINISTRATIVELY CLOSING CASE

       On January 10, 2022, Plaintiff Bank of New York Mellon Trust Company, N.A.1 filed the

above-captioned foreclosure suit against Defendant Juana O. Castillo. Compl., ECF No. 1. A

few weeks later, however, the Bank moved to abate the case until March 29, 2022. 1st Mot.

Abate, ECF No. 8. The Bank explained that the Department of Housing and Urban Development

(“HUD”) had issued an “At-Risk Extension Hold” barring the Bank from prosecuting this

foreclosure proceeding until March 29, 2022. Id. at 1. The Court accordingly stayed the case

until that date and ordered the Bank to file a status update after the stay lifted. 1st Stay Order,

ECF No. 9.

       The Bank duly filed a status report on March 30, 2022 informing the Court that the At-

Risk Extension Hold had expired, and that the Bank could resume prosecuting the case. 1st

Status Report, ECF No. 11.




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        The Bank appears “not in its individual capacity[,] but solely as Owner Trustee for Mortgage
Assets Management Series I Trust.” Compl. at 1.
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       Castillo’s deadline to respond to the Bank’s Complaint elapsed shortly thereafter. See

FED. R. CIV. P. 12(a); 1st Stay Order (tolling “Castillo’s deadline to file an answer or otherwise

respond to Plaintiff’s complaint” while the stay remained in effect). Because Castillo had not

answered the Complaint, moved to dismiss the case, or otherwise appeared in the case, the Bank

asked the Clerk to enter a default against Castillo and asked the Court to enter a default

judgment. Mot. Default, ECF No. 12; Mot. Default J., ECF No. 13.

       Before the Court could rule on those motions, however, the Bank filed a second motion

to abate the case. 2d Mot. Abate, ECF No. 14. The Bank explained that, on May 4, 2022, HUD

approved Castillo’s loan for another At-Risk Extension Hold. Id. at 1. The Bank also informed

the Court that Castillo had expressed a desire to “reinstate” the loan—that is, make the payments

necessary to bring the loan current. Id. The Bank thus asked the Court to stay the case for

another 90 days. Id. Accordingly, the Court stayed the case until August 4, 2022 and ordered

the Bank to file another status update on August 8, 2022. 2d Stay Order, ECF No. 15.

       The Bank’s August 8, 2022 status report discloses that “HUD has continued to place [the

Bank]’s foreclosure rights on hold.” 2d Status Report, ECF No. 16. The status report does not

specify when HUD will lift the At-Risk Extension Hold and allow the Bank to resume

prosecuting this case. Id. at 1. The Bank also states that it sent Castillo’s representative a

statement showing how much money Castillo would need to pay to reinstate her loan, but

Castillo has not yet paid the necessary funds. Id.

       Given the uncertainty regarding when (if ever) the Bank will be able to prosecute this

case, the Court sua sponte STAYS this case INDEFINITELY. The Court DIRECTS the Clerk

of Court to ADMINISTRATIVELY CLOSE the case. The Bank may move to reopen the case

if HUD ultimately lifts the At-Risk Extension Hold and permits the Bank to pursue its



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foreclosure remedies. Either party may move to reopen and dismiss the case in the event Castillo

reinstates her loan to prevent foreclosure.

       The Court DENIES the Bank’s “Request for Clerk’s Entry of Default” (ECF No. 12) and

“Motion for Default Judgment Against Defendant and Brief in Support Thereof” (ECF No. 13)

WITHOUT PREJUDICE.

       The Court DIRECTS the Clerk to forward a copy of this Order to the following address:

               Juana O. Castillo
               4831 Betts Drive
               El Paso, TX 79938

       So ORDERED and SIGNED this 10th day of August 2022.



                                                ____________________________________
                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE




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